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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  PATRICIA KENNEDY, Individually,                     :
                                                      :
                 Plaintiff,                           :
                                                      :
  v.                                                  :   Case No.
                                                      :
  DORAL HOTEL ENTERPRISE, LLC d/b/a                   :
  ALOFT MIAMI DORAL,                                  :
                                                      :
                Defendant.                            :
                                                    / :



                                           COMPLAINT
                                    (Injunctive Relief Demanded)

         Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

  individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

  DORAL HOTEL ENTERPRISE, LLC d/b/a ALOFT MIAMI DORAL, (sometimes referred to as

  “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant

  to the Americans with Disabilities Act, 42 U.S.C.§ 12181 et seq. (“ADA”).

  1.             Plaintiff is a resident of Volusia County, is sui juris, and qualifies as an individual

                 with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

                 life activity of walking more than a few steps without assistive devices. Instead,

                 Plaintiff is bound to ambulate in a wheelchair or with a cane or other support and has

                 limited use of her hands. She is unable to tightly grasp, pinch and twist of the wrist

                 to operate. When ambulating beyond the comfort of her own home, Plaintiff must

                 primarily rely on a wheelchair. Plaintiff requires accessible handicap parking spaces

                 located closest to the entrances of a facility. The handicap and access aisles must be
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              of sufficient width so that she can embark and disembark from a ramp into her

              vehicle. Routes connecting the handicap spaces and all features, goods and services

              of a facility must be level, properly sloped, sufficiently wide and without cracks,

              holes or other hazards that can pose a danger of tipping, catching wheels or falling.

              These areas must be free of obstructions or unsecured carpeting that make passage

              either more difficult or impossible. Amenities must be sufficiently lowered so that

              Plaintiff can reach them. She has difficulty operating door knobs, sink faucets, or

              other operating mechanisms that tight grasping, twisting of the wrist or pinching. She

              is hesitant to use sinks that have unwrapped pipes, as such pose a danger of scraping

              or burning her legs. Sinks must be at the proper height so that she can put her legs

              underneath to wash her hands. She requires grab bars both behind and beside a

              commode so that she can safely transfer and she has difficulty reaching the flush

              control if it is on the wrong side. She has difficulty getting through doorways if they

              lack the proper clearance.

  2.          For many years, Plaintiff h a s b e e n a resident of Broward County, Florida.

              She frequently travels throughout South Florida, including Miami-Dade County.

              She intends to continue her travels with the same frequency in the future.


  3.          Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

              "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

              determining whether places of public accommodation and their websites are in

              compliance with the ADA.




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  4.          According to the county property records, Defendant owns a place of public

              accommodation as defined by the ADA and the regulations implementing the ADA,

              28 CFR 36.201(a) and 36.104. The place of public accommodation that the

              Defendant owns is a place of lodging known as Aloft Miami Doral, and is located

              at 3265 NW 107 t h Ave., Doral, in the County of Miami-Dade, Florida

              (hereinafter "Property").

  5.          Venue is properly located in the Southern District because venue lies in the judicial

              district wh ere the caus e of action accrued. In ad di ti on, t he Defendant’s

              property is located in, and t he D efend ant does business within this judicial

              district.

  6.          Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

              original jurisdiction over actions which arise from the Defendant’s violations of Title

              III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

              U.S.C. § 2201 and § 2202.

  7.          As the owner of the subject place of lodging, Defendant is required to comply with

              the ADA. As such, Defendant is required to ensure that its place of lodging is in

              compliance with the standards applicable to places of public accommodation, as set

              forth in the regulations promulgated by the Department Of Justice. Said regulations

              are set forth in the Code of Federal Regulations, the Americans With Disabilities

              Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards,

              incorporated by reference into the ADA. These regulations impose requirements

              pertaining to places of public accommodation, including places of lodging, to ensure

              that they are accessible to disabled individuals.
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  8.          More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

              requirement:

              Reservations made by places of lodging. A public accommodation that owns,
              leases (or leases to), or operates a place of lodging shall, with respect to
              reservations made by any means, including by telephone, in-person, or through
              a third party -
                      (i) Modify its policies, practices, or procedures to ensure that individuals
                      with disabilities can make reservations for accessible guest rooms during
                      the same hours and in the same manner as individuals who do not need
                      accessible rooms;
                      (ii) Identify and describe accessible features in the hotels and guest
                      rooms offered through its reservations service in enough detail to
                      reasonably permit individuals with disabilities to assess independently
                      whether a given hotel or guest room meets his or her accessibility needs;
                      (iii) Ensure that accessible guest rooms are held for use by individuals
                      with disabilities until all other guest rooms of that type have been rented
                      and the accessible room requested is the only remaining room of that type;
                      (iv) Reserve, upon request, accessible guest rooms or specific types of
                      guest rooms and ensure that the guest rooms requested are blocked and
                      removed from all reservations systems; and
                      (v) Guarantee that the specific accessible guest room reserved through
                      its reservations service is held for the reserving customer, regardless of
                      whether a specific room is held in response to reservations made by
                      others.

  9.          These regulations became effective March 15, 2012.

  10.         Defendant, either itself or by and through a third party, implemented, operates,

              controls and or maintains a website for the Property which contains an online

              reservations system. The website is located at:

              https://www.marriott.com/hotels/travel/miaal-aloft-miami-doral. This term also

              includes all websites owned and operated by Defendant or by third parties to

              book or reserve guest accommodations at the hotel:

              https://www.expedia.com/Miami-Hotels-Aloft-Miami-Doral.h5777354.Hotel-

              Information, https://www.hotels.com/ho426909/aloft-miami-doral-doral-united-

              states-of-america/, https://www.priceline.com/hotel-

              deals/h24801505/US/Florida/Doral/Aloft-Miami-Doral.html, and

              https://www.orbitz.com/Miami-Hotels-Aloft-Miami-Doral.h5777354.Hotel-
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              Information. The purpose of these websites are so that members of the public

              may reserve guest accommodations and review information pertaining to the

              goods, services, features, facilities, benefits, advantages, and accommodations of

              the Property. As such, this website is subject to the requirements of 28 C.F.R.

              Section 36.302(e).

  11.         Prior to the commencement of this lawsuit, specifically, on June 13, 2019, June

              14, 2019, June 15, 2019, June 16, 2019, June 17, 2019and June 18, 2019, Plaintiff

              visited the websites for the purpose of reviewing and assessing the accessible

              features at the Property and ascertain whether they meet the requirements of 28

              C.F.R. Section 36.302(e) and her accessibility needs. However, Plaintiff was

              unable to do so because Defendant failed to comply with the requirements set

              forth in 28 C.F.R. Section 36.302(e). As a result, Plaintiff was deprived the same

              goods, services, features, facilities, benefits, advantages, and accommodations of

              the Property available to the general public as is more specifically set forth

              below.

  12.         The hotels own website located at: https://www.marriott.com/hotels/travel/miaal-

              aloft-miami-doral has no reference to accessible rooms. There was no option to

              book an accessible room. No information was given as to whether or where it

              offers compliant/accessible roll-in showers, tubs, built in seating, commodes,

              sinks, wrapped pipes, sink and door hardware, properly located amenities,

              sufficient maneuvering spaces, compliant doors, furniture, controls and operating

              mechanisms. The website does not contain any information as to whether all

              goods, facilities and services at the property are connected by a compliant

              accessible route, nor does the website contain any information as to the

              accessibility of routes connecting all the features of the hotel, the transaction
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              counter, parking, and common area restrooms. The website does not give any

              information as to whether accessible rooms are on the ground floor or if an

              elevator is provided within an accessible route. Nor does the website give any

              information regarding the pool/pools having an accessible lift. I have looked at all

              the pages on the hotel websites including third party booking sites and found that

              the hotel claims to have an outdoor swimming pool, bar/lounge, free shopping

              center shuttle, fitness facilities, poolside bar, grocery/convenience store, meeting

              rooms, free self-parking, computer station, free area shuttle, ATM, 24 hour

              business center, banquet hall, laundry facilities, garden, free airport

              transportation, pool tables, restaurant, coffee shop or café, conference space,

              wedding services, and that there is no information as to whether any or all of

              these hotel features are accessible.

  13.         The third party booking site located at: https://www.expedia.com/Miami-Hotels-

              Aloft-Miami-Doral.h5777354.Hotel-Information: has no option to book an

              accessible room. Hotel amenities, room types and amenities are all listed in detail.

              No information was given about accessibility in the hotel other than the

              statements “accessible bathroom”, “roll-in shower” and in-room accessibility”.

  14.         The third party booking site located at https://www.hotels.com/ho426909/aloft-

              miami-doral-doral-united-states-of-america/: has no option to book an accessible

              room. Hotel amenities, room types and amenities are all listed in detail. No

              information was given about accessibility in the hotel other than the statements

              “accessible bathroom”, “roll-in shower” and in-room accessibility”.

  15.         The third party booking site located at https://www.priceline.com/hotel-

              deals/h24801505/US/Florida/Doral/Aloft-Miami-Doral.html has no option to

              book an accessible room. Hotel amenities, room types and amenities are all listed
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              in detail. No information was given about accessibility in the hotel other than the

              statements “accessible rooms/facilities, “elevator/lift”, and “disabled/handicap

              parking”. No information as to where to find these features.

  16.         The third party booking site located at: https://www.orbitz.com/Miami-Hotels-

              Aloft-Miami-Doral.h5777354.Hotel-Information: also lacks an option to book an

              accessible room. Hotel amenities, room types and amenities are all listed in detail.

              No information was given about accessibility in the hotel other than the

              statements “accessible bathroom”, “roll-in shower” and in-room accessibility”.

  17.         In the near future, Plaintiff intends to revisit Defendant's website and/or online

              reservations system and the third party booking sites in order to test it for

              compliance with 28 C.F.R. Section 36.302(e) and/or to utilize those websites to

              reserve a guest room and otherwise avail herself of the goods, services, features,

              facilities, benefits, advantages, and accommodations of the Property.

  18.         Plaintiff is continuously aware that the subject websites remains non-

              compliant and that it would be a futile gesture to revisit the website as long as

              those violations exist unless she is willing to suffer additional discrimination.

  19.         The violations present at Defendant's website and the third party booking sites

              infringe Plaintiff's right to travel free of discrimination and deprive her of the

              information required to make meaningful choices for travel. Plaintiff has suffered,

              and continues to suffer, frustration and humiliation as the result of the

              discriminatory conditions present at t h e websites. By continuing to operate a

              website with discriminatory conditions, and utilize third party booking sites with

              discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation

              and segregation and deprives Plaintiff the full and equal enjoyment of the goods,

              services, facilities, privileges and/or accommodations available to the general
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              public. By encountering the discriminatory conditions at Defendant's website, and

              third party booking sites, and knowing that it would be a futile gesture to return

              to the website unless she is willing to endure additional discrimination, Plaintiff is

              deprived of the same advantages, privileges, goods, services and benefits readily

              available to the general public. By maintaining a website with violations, and

              utilizing third party booking sites with violations, Defendant deprives Plaintiff the

              equality of opportunity offered to the general public.

  20.         Plaintiff has suffered and will continue to suffer direct and indirect injury as a

              result of the Defendant’s discrimination until the Defendant is compelled to

              modify the webistes to comply with the requirements of the ADA and to

              continually monitor and ensure that the subject websites remains in compliance.

  21.         Plaintiff has a realistic, credible, existing and continuing threat of discrimination

              from the Defendant’s non-compliance with the ADA with respect to the websites.

              Plaintiff has reasonable grounds to believe that she will continue to be subjected

              to discrimination in violation of the ADA by the Defendant.

  22.         The Defendant has discriminated against the Plaintiff by denying her access to,

              and full and equal enjoyment of, the goods, services, facilities, privileges,

              advantages and/or accommodations of the subject website.

  23.         The Plaintiff and all others similarly situated will continue to suffer such

              discrimination, injury and damage without the immediate relief provided by the

              ADA as requested herein.

  24.         Defendant has discriminated against the Plaintiff by denying her access to full and

              equal enjoyment of the goods, services, facilities, privileges, advantages and/or

              accommodations of its place of public accommodation or commercial facility in

              violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the
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               Defendant continues to discriminate against the Plaintiff, and all those similarly

               situated by failing to make reasonable modifications in policies, practices or

               procedures, when such modifications are necessary to afford all offered goods,

               services, facilities, privileges, advantages or accommodations to individuals with

               disabilities; and by failing to take such efforts that may be necessary to ensure

               that no individual with a disability is excluded, denied services, segregated or

               otherwise treated differently than other individuals because of the absence of

               auxiliary aids and services.

  25.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

               Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

               fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

               12205 and 28 CFR 36.505.

  26.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

               Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

               subject websites to make them readily accessible and useable to the Plaintiff and

               all other persons with disabilities as defined by the ADA and 28 C.F.R. Section

               36.302(e); or by closing the defendant’s website and precluding the Defendant

               from utilizing the third party booking sites until such time as the Defendant cures

               its violations of the ADA.

  WHEREFORE, Plaintiff respectfully requests:

        a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

               commencement of the subject lawsuit is in violation of Title III of the Americans

               with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

        b.     Injunctive relief against the Defendant including an order to revise its website and

               its listings on third party booking sites to comply with 28 C.F.R. Section 36.302(e)
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              and to implement a policy to monitor and maintain the websites to ensure that it

              remains in compliance with said requirement.

         c.   An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

         d.   Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.


               Respectfully Submitted,



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